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                        UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 DR. THOMAS HUBBARD, PhD,

           Plaintiff,

 v.                                                           Case No. 1:20-cv-767

 SARAH ALLEN BLAKEMORE and
 JOHN DOES 1-10,

           Defendants.



                          PLAINTIFF’S ORIGINAL COMPLAINT

           COMES NOW Dr. Thomas Hubbard, PhD (“Dr. Hubbard” or “Plaintiff”) and files

his Complaint (“Complaint”) against Sarah Allen Blakemore (“Blakemore” or

“Defendant”) and John Does 1-10 (“John Does”) and would respectfully show as follows:

                                JURISDICTION AND VENUE

      1.       Defendant is subject to jurisdiction in Texas because Defendant is domiciled in

Texas. Venue is appropriate because Defendant committed the actions complained of

herein in Travis County, Texas.

      2.       Subject matter jurisdiction is appropriate because the amount in controversy

exceeds $75,000.00 including all damages and attorneys’ fees. In addition, there is

complete diversity of citizenship because Plaintiff is domiciled in California and, on

information and belief, John Does 1-10 are not domiciled in the State of California.

                                          PARTIES

      3.       Plaintiff is a natural person who is a permanent resident and citizen of the State

of California. He may be served through the undersigned counsel of record.
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   4.      Defendant Blakemore is a natural person who is a permanent resident and

citizen of the State of Texas. She may be served with process at 6445 Brompton Rd,

Houston, TX 77005.

   5.      Defendants John Does 1-10, on information and belief, are natural persons and

are permanent residents and citizens of the State of Texas.

                                FACTUAL BACKGROUND

   6.      Dr. Hubbard is a longstanding full-time member of the faculty of the Classics

Department of the University of Texas at Austin, and a faculty affiliate of the Center for

Women’s and Gender Studies. In the Fall of 2019 his career and reputation were attacked

by the same mob violence and mob “justice” currently sweeping the land. Defendants were

the instigators and initiators of these events through libelous and slanderous statements

made of and concerning Dr. Hubbard.

   7.      On approximately November 21, 2019, Blakemore, acting in concert with John

Does, authored and caused to be published the document attached hereto as Exhibit A (the

“Flyer”), which was circulated as a flyer to multiple third parties in and around the campus

of the University of Texas at Austin, where Dr. Hubbard was a full-time faculty member

in the Fall of 2019 in an apparent attempt to “cancel” Dr. Hubbard or create a “doxing” of

him. On the same date, the Flyer was reproduced and sent out nationwide via a Twitter list

to which many faculty and students in the field of Classics subscribe, eliciting multiple

hostile reactions to Dr. Hubbard within his professional field.

   8.      The Flyer makes multiple false statements of fact of and concerning Dr.

Hubbard. First, it claims that Dr. Hubbard has been “advocating for pederasty (pedophilia)

for as long as he has taught at the University of Texas.” This statement gives the




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impression that Dr. Hubbard is some type of “Professor Pedophile” who has spent his entire

career advocating for adults to have sex with children. This is completely false in every

imaginable way.

   9.        Dr. Hubbard first began teaching at the University of Texas in 1985 and did not

even begin serious research or teaching related to the ancient Greek practice of pederasty

until after he was tenured in 1993. He has never “advocated” for the practice of pederasty

in contemporary society, but sought to understand it within its cultural and historical

context in classical and post-classical civilizations.

   10.       In addition, “pederasty” and “pedophilia” are not identical terms and do not

refer to the same age range. One refers to sexually mature adolescents and the other refers

to prepubescent children. Dr. Hubbard has most certainly never advocated for, justified,

or rationalized pedophilia in any form or fashion, nor is it widely attested in the historical

cultures he discusses.

   11.       The Flyer also makes the following claims

         •   Dr. Hubbard has “used his position to further a community of individuals hoping

             to prey on underage boys”;

         •   That “[i]n his academic writing” Dr. Hubbard “describes physical

             relationships between men and young boys as ‘proper learning experiences’”

             and that Dr. Hubbard’s publications such as one titled "Boys' Sexuality and Age

             of Consent" “encourage” illicit acts between adults and children;

         •   That Dr. Hubbard taught a course called "Mythology of Rape" (giving the

             impression that Dr. Hubbard taught a course that advocated that rape is a




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             mythological concept) that was banned at the University of Texas after only

             one semester;

         •   That Dr. Hubbard “is heavily associated with the North American Man/Boy

             Love Association” (“NAMBLA”), which Defendants describe as “formerly the

             world's largest pedophile activist group” and that Dr. Hubbard is “even on the

             list of associated individuals” on the NAMBLA Wikipedia page.

   12.       The Flyer concludes with the following paragraph:

                We are calling for Dr. Thomas K. Hubbard's immediate removal from his position
                as a professor of the classics department at the University of Texas at Austin. An
                individual who advocates for violent crime against teen boys had no business
                teaching the leaders of tomorrow. It is clear to us that the University of Texas
                does not have its student's safety, health, and welfare in mind. Hubbard's
                misconduct has been brought to administration before to no avail. We refuse
                to stand by while this man uses his status to promote pedophilia.

   13.       These statements are all completely false. Dr. Hubbard has never stated that he

viewed “physical relationships between men and young boys” as “proper learning

experiences” in current US society, but rather that many ancient Greeks viewed them as

such. Dr. Hubbard has never published any statements that “encourage illicit acts”

between adults and adolescent young men. He has done nothing more than engage in

discourse with other scholars regarding the age of consent of adolescent young men while

referencing historical and cross-cultural practices as background for discussions.

   14.       In addition, Dr. Hubbard’s course was actually titled “Mythologies of Rape”

and not “Mythology of Rape,” and it was not banned after one semester. It was a class that

focused on the historical evolution of laws against sexual assault and rape in classical

mythology; the course never explored any notion that rape was, in itself, a mythological

concept. The course was actually scheduled to be taught the following year with an

agreement from the Center for Women’s and Gender Studies to cross-list it, but both his



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department and he decided that Dr. Hubbard was needed more to teach a larger enrollment

course.

   15.       Moreover, Dr. Hubbard is not “heavily associated” with NAMBLA and has on

more than one occasion publicly stated his disagreement with NAMBLA’s view on

abolishing age of consent laws altogether. The Wikipedia article cited in the Flyer was

revised to omit any reference to Dr. Hubbard within one day of Dr. Hubbard contacting

Wikipedia and providing its editorial collective with proof of his public disagreement with

NAMBLA’s positions. The Flyer’s statements in this regard are total fabrications.

   16.       Finally, Dr. Hubbard has never advocated for “violent crime” against teen boys

or anyone else and has never advocated that adults ignore age of consent laws and

statutorily rape or molest children. Once again, these are total and complete fabrications.

   17.       In a December 4, 2019 news story in the Austin American Statesman, however,

Blakemore        doubled      down      on      these     libelous    claims.           See

https://www.statesman.com/news/20191204/austin-students-want-professor-fired-for-

writings-on-age-of-consent-ut-says-itrsquos-protected-speech. She was quoted as saying,

“I understand everyone has their own academic license, but I don’t think it’s appropriate

for teachers at a public university to be promoting breaking the law.” Once again, Dr.

Hubbard has never ever promoted law breaking, but has at most proposed some modest

reforms to the law regarding age of consent to be consistent with the laws of many

developed countries.

   18.       Defendants’ libel and slander is essentially like accusing someone who

proposes reform to United States drug laws as someone who “advocates for drug abuse”




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and “breaking the law”. It is completely and maliciously false to accuse Dr. Hubbard of

advocating for child rape or for otherwise breaking the law.

   19.      In summary, the publications and statements complained of herein expressly

and/or impliedly through juxtaposition, context, and innuendo, make the following false

statements of fact of and concerning Dr. Hubbard:

            a. That Dr. Hubbard promotes, encourages, and/or advocates for the

               commission of pedophilia (adult sex with prepubescent children);

            b. That Dr. Hubbard’s teaching and scholarship promotes, encourages, and/or

               advocates for the commission of pederasty (adult sex with sexually

               developed adolescent minors);

            c. That Dr. Hubbard’s teaching and scholarship promotes, encourages,

               advocates for, and is “heavily associated with” NAMBLA, an organization

               that is alleged to promote pedophilia and revoking all age of consent laws;

            d. That Dr. Hubbard teaches and engages in scholarship that pedophilic and

               pederastic relationships can be “proper learning experiences” for the

               children/minors involved;

            e. That Dr. Hubbard teaches and engages in scholarship that promotes and

               advocates for violent crime against children and teenagers;

            f. That Dr. Hubbard’s teaching and scholarship has jeopardized the safety,

               health, and welfare of students at the University of Texas; and

            g. That Dr. Hubbard’s teaching and scholarship caused the University of

               Texas at Austin to “ban” one of his classes.




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   20.      Defendants’ libel and slander have caused significant damage to Dr. Hubbard.

Following the publication of these statements, Dr. Hubbard’s house was attacked and

vandalized on December 9, 2019 by militants associated with an explicitly revolutionary

organization (the Popular Women’s Movement/Movimiento Femenino Popular) who

spray-painted red graffiti on Dr. Hubbard’s house in the form of bold letters spelling

“CHILD RAPIST” and a hammer and sickle. Graffiti was also spray painted on a nearby

store that threatened Dr. Hubbard’s life.

   21.      Due to these events, Dr. Hubbard was forced to leave Austin, Texas and relocate

to California. He has suffered significant damages to his reputation, mental anguish, and

emotional distress. He is unable to resume teaching in anything but an online format.

                                     CAUSES OF ACTION

                                          COUNT I


                                 Libel (per se and per quod)


   22.      Plaintiff realleges all of the preceding allegations as if fully stated herein.

   23.      Defendants published false statements of fact of and concerning Plaintiff, who

is not a general purpose or limited purpose public figure. Defendants acted with negligence

as well as actual malice and/or reckless disregard for the truth the false statements of fact.

Alternatively, Defendants are strictly liable for the defamatory Flyer and statements. The

false statements of fact were defamatory of Plaintiff and caused reputational injury per se

because they injured Plaintiff in his occupation as university faculty member who works

with students. The false statements also caused Plaintiff actual damages and mental

anguish.




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   24.      Plaintiff further seeks exemplary damages because Defendants’ actions were

committed with actual malice and/or reckless disregard for the truth.

                              CONDITIONS PRECEDENT

   25.       All conditions precedent to Plaintiff’s claims have occurred or have been

waived.

                                  PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for relief and judgment as follows:

            a. awarding actual, reputational, mental anguish, and exemplary damages;

            b. pre- and post-judgment interests and costs; and

            c. all other relief to which Plaintiff is entitled in law or equity.


Dated: July 20, 2020.

                                                Respectfully submitted,

                                                CAMARA & SIBLEY LLP

                                                /s/ Joseph D. Sibley___________________
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                                                ATTORNEYS FOR PLAINTIFF




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